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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

BVG PROPERTIES, LLC, et al.,           )      CASE NO.: 1:25:CV-00430
                                       )
                                       )
                    Plaintiffs,        )      JUDGE PAMELA A. BARKER
                                       )
vs.                                    )
                                       )
CITY OF CLEVELAND, et al.,             )
                                       )
                    Defendants.        )


                     PLAINTIFFS’ MOTION FOR CLARIFICATION

       Now comes Plaintiffs, BVG Properties, LLC, 7006 Detroit LLC and 1415-1419

West 101 LLC, by and through the undersigned counsel, and respectfully requests this

Honorable Court to grant Plaintiffs’ Motion to Exceed Page Limitation. A memorandum

in support is attached hereto.



                                       Respectfully submitted,

                                       /S/ SARAH S. GRAHAM
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                                       Attorney for Plaintiffs
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                            LOCAL RULE CERTIFICATION

      This case has not been assigned to a specific track as of May 21, 2025. This
Motion is filed in compliance with Local Rule 7.



                                         /S/ SARAH S. GRAHAM
                                         Sarah S. Graham, Esq. (0070850)

                              CERTIFICATE OF SERVICE

      A copy of the foregoing Plaintiffs’ Motion to Exceed Page Limitation was served

via the Court’s online filing system on May 21, 2025 to the following:


JR Russell, Esq.
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                                                /S/ SARAH S. GRAHAM
                                                Sarah S. Graham, Esq. (0070850)
                                                Attorney for Plaintiffs




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                              MEMORANDUM IN SUPPORT

       On April 28, 2025, Defendants City of Cleveland and Defendant Sally Martin aka

Sally Martin O’Toole’s (“Defendants”) filed a Brief in Opposition to Plaintiffs BVG

Properties, LLC, 7006 Detroit LLC and 1415-1419 West 101 LLC’s (“Plaintiffs”) Motion

for Preliminary Injunction. During a phone status conference on May 12, 2025, this

Court granted Plaintiffs until June 3, 2025 to file a Combined Reply in Support of their

Motion for Preliminary Injunction and Opposition to Defendants’ Motion to Dismiss that

was filed on May 6, 2025.

       Plaintiffs hereby request that this Court grant Plaintiffs’ Motion to Exceed the

Page Limitation for their Combined Reply. The page limitation is set forth in Local Rule

7.1(f). Plaintiffs submit that it is necessary to exceed the page limitation for reasons that

include, but are not limited to, the fact that this is now a Combined Reply.

       In light of the foregoing, Plaintiffs request that this Court grant its Motion for

Extension of Page Limitation and allow Plaintiffs to file a Combined Reply with the

memorandum up to 70 pages in length.


                                            /S/ SARAH S. GRAHAM
                                            Sarah S. Graham, Esq. (0070850)
                                            Attorney for Plaintiffs




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